      Case 7:24-cr-01258        Document 38       Filed on 12/18/24 in TXSD        Page 1 of 1
                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                                                                                        December 18, 2024
                            UNITED STATES DISTRICT COURT
                                                                                         Nathan Ochsner, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION


UNITED STATES OF AMERICA                          §
                                                  §
VS.                                               §   CRIMINAL NO. 7:24-CR-1258-2
                                                  §
RENE ADAN FLORES                                  §

                   ORDER GRANTING UNOPPOSED CONTINUANCE

        Came on to be considered Defendant Rene Adan Flores's Motion for Continuance [Doc.

No. 37] which was unopposed by the Government, and the Court, after considering same, finds

that the failure to grant the Defendant's Motion for Continuance would likely make a

continuation of this proceeding impossible or result in a miscarriage of justice and, consequently,

finds that the ends of justice served by granting such continuance outweigh the best interest of

the public and the defendant in a speedy trial.

        It is, therefore, ORDERED, ADJUDGED, and DECREED that the unopposed Motion for

Continuance of Defendant Rene Adan Flores is hereby GRANTED, and this case is continued

for the reasons stated above.

        It is further ORDERED that the Final Pretrial (previously set for December 20, 2024) in

this case is hereby reset for January 31, 2025, at 9:00 a.m., and Jury Selection is hereby reset for

February 4, 2025, at 9:00 a.m. in the 9th Floor Courtroom, Bentsen Tower, 1701 West Business

Highway 83, McAllen, Texas.

         SO ORDERED December 18, 2024, at McAllen, Texas.


                                                        ______________________________
                                                        Randy Crane
                                                        Chief United States District Judge




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